      Case 3:19-cr-00032-MCR Document 72-2 Filed 12/03/19 Page 1 of 8




                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DIVISION OF FLORIDA
                        PENSACOLA DIVISION

UNITED STATES OF
AMERICA,

V.                                                   3: l 9-cr-00032-MCR

TIMOTHY J. SMITH,

     DEFENDANT.


                    DEFENDANT'S TRIAL WITNESS LIST




NO.          WITNESS

1.           Timothy Jerome Smith

2.           Taylor S. Ripley-Groce
             Turkreno Incorporated

3.           Mr. Michael Norberg
             Florida Fish and Wildlife Conservation Commission

4.           Travis Griggs

5.           Tristan Harper


Page I of3
      Case 3:19-cr-00032-MCR Document 72-2 Filed 12/03/19 Page 2 of 8




6.           Ralph Haynes

7.           Alex Fogg

8.           John Jackson

9.           Jason Downs

10.          Representative / Custodian of Records for Alabama
             Department of Conservation & Natural Resources/ Marine
             Resources Division (Potentially Mr. Kevin Anson).

11.          Stephanie Cassady
12.


The Defendant reserves the right to call witnesses in rebuttal of the
Government's case, or witnesses necessary to authenticate or admit any
Exhibit offered by the Defendant.


                                         Respectfully Submitted,

                                         Isl William K. Bradford
                                         William K. Bradford
                                         Attorney for Defendant Smith
                                         wkb@bradfordladner.com

OF COUNSEL:
BRADFORD LADNER, LLP.



Page 2 of3
      Case 3:19-cr-00032-MCR Document 72-2 Filed 12/03/19 Page 3 of 8




Mobile Alabama Office
160 St. Emanuel Street
Mobile, AL 36602
251-303-8800

Birmingham Alabama Office
1330 21st Way South, Suite 120
Birmingham, AL 35205
205-802-8823



                       CERTIFICATE OF SERVICE


      I hereby certify that I electronically filed the foregoing document
with the Clerk of the Court using CM/ECF, and that the foregoing
document is being served on all counsel of record identified on the
CM/ECF and transmitted in accordance with CM/ECF requirements, on
this the 29th day of November, 2019.



                                        Isl William K. Bradford
                                        OF COUNSEL




Page 3 of3
            Case 3:19-cr-00032-MCR Document 72-2 Filed 12/03/19 Page 4 of 8




                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DIVISION OF FLORIDA
                            PENSACOLA DIVISION

      UNITED STATES OF                          §
      AMERICA,                                  §
                                                §
      V.                                        §             3: l 9-cr-00032-MCR
                                                §
      TIMOTHY J. SMITH,                         §
                                                §
           DEFENDANT.                           §



                            DEFENDANT'S TRIAL EXHIBIT LIST


No.           Description                           Witness          Identified   Admitted

lA-B          FBI Form 1057 Evidence Log (As Cassady
              required for cross-examination or
              impeachment)
                                                                 .




2A-H          FBI Form 302's (As required for Cassady
              cross-examination            or
              impeachment)

3             Escambia County Sheriffs Report       Cassady

4             Affidavit in Support of Search Cassady
              Warrant

5             Travis Griggs Signed Statement        Griggs
                                        .




      Page I of5
           Case 3:19-cr-00032-MCR Document 72-2 Filed 12/03/19 Page 5 of 8




                                                                                .



6            Tristan Harper Signed Statement      Harper

7            Copy of Emails Between Tristan       Griggs
             Harper, Travis Griggs, and Ralph     Harper
             Haynes                               Haynes
8            Copy of Reed Owens and Travis        Harper
             Harper    Facebook     Messenger
             Conversation
                                                                 .




9            Travis Griggs Presentation to 2015 Griggs
             Florida Artificial Reef Summit

10           Facebook Postings by Strikelines / Griggs
             Griggs I Harper                    Harper

11           Copies of Text      messages      of Smith
             Timothy Smith

12           Copies of Facebook Messenger Smith
             Conversations of Timothy Smith

13           Copies of Text messages between Smith
             Smith and Griggs / Harper                                      '



14           CV of Taylor Ripley-Groce            Ripley-Groce

15           Historical Versions of Strikeline Ripley-Groce
             website

16           Google Maps End User Agreement Ripley-Groce
             I Google Maps Agreement and                              ' .
             Policies


     Page 2 of5
     Case 3:19-cr-00032-MCR Document 72-2 Filed 12/03/19 Page 6 of 8




17    Florida     Fish     and     Wildlife Norberg
      Conservation       Commission       I
      Division of Marine       Fisheries  I
      Artificial Ref Locations Document

18    Copies of Website Pages from Norberg
      Florida    Fish    and     Wildlife
      Conservation     Commission       I
      Division of Marine Fisheries

19    Copy of "reeflocations" xml sheet                    Norberg

20    Copies ofAlabama Department of TBD
      Conservation& Natural Resources
      I Marine Resources Division
      Website
                                                                      .



21    Artificial Reef Location Documents TBD
      from Alabama Department of
      Conservation& Natural Resources
      / Marine Resources Division
                                           .



22    Copy of Document from:                               TBD
      https://myfwc.com/media/19397/
      artificialreefdeploymentlocations
      .pdf

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     Case 3:19-cr-00032-MCR Document 72-2 Filed 12/03/19 Page 7 of 8




The Defendant reserves the right to identify and seek admission of other
portions of Government's Exhibit 14, which are selected portions of
Government's Exhibit 12, for purposes of cross-examination, impeachment, or
under Rule 106, F.R.E.

The Defendant reserves the right to identify and seek admission of exhibits
which may not be otherwise listed above for purposes of rebuttal of evidence in
the Government's case in chief or rebuttal evidence offered by the Government.




                                          Respectfully Submitted,

                                          Isl William K. Bradford
                                          William K. Bradford
                                          Attorney for Defendant Smith
                                          wkb@bradfordladner.com

OF COUNSEL:
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Page 4 of5
     Case 3:19-cr-00032-MCR Document 72-2 Filed 12/03/19 Page 8 of 8




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                                        Isl William K. Bradford
                                        OF COUNSEL




Page 5 of5
